             UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF TEXAS
                    AUSTIN DIVISION


 Leila Green Little, et al.,

                       Plaintiffs,
                                               Case No. 1:22-cv-00424-RP
 v.

 Llano County, et al.,

                       Defendants.


                               NOTICE OF APPEAL
      Defendants Llano County, Ron Cunningham, Jerry Don Moss, Peter Jones, Mike
Sandoval, Linda Raschke, Amber Milum, Bonnie Wallace, Rochelle Wells, Rhonda
Schneider, and Gay Baskin appeal to the United States Court of Appeals for the Fifth
Circuit from the order granting in part the plaintiffs’ motion for preliminary injunc-
tion entered on March 30, 2023 (ECF No. 133).

                                            Respectfully submitted.

                                             /s/ Jonathan F. Mitchell
 D K. R                            J F. M
 Texas Bar No. 00788311                     Texas Bar No. 24075463
 County Attorney                            Mitchell Law PLLC
                                            111 Congress Avenue, Suite 400
 M L. R                        Austin, Texas 78701
 Texas Bar No. 16908020                     (512) 686-3940 (phone)
 First Assistant County Attorney            (512) 686-3941 (fax)
                                            jonathan@mitchell.law
 Llano County Attorney’s Office
 Llano County Courthouse
 801 Ford Street
 Llano, Texas 78643
 (325) 247-7733
 dwain.rogers@co.llano.tx.us
 matt.rienstra@co.llano.tx.us

 Dated: March 30, 2023                      Counsel for Defendants



                                                              Page 1 of 2
                         CERTIFICATE OF SERVICE
    I certify that on March 30, 2023, I served this document through CM/ECF
upon:

E V. L
M B
J. N H
M B
E E. H
BraunHagey & Borden LLP
351 California Street, 10th Floor
San Francisco, California 94104
(415) 599-0210
leonida@braunhagey.com
borden@braunhagey.com
hagey@braunhagey.com
bernstein@braunhagey.com
herington@braunhagey.com

R A. B
K  P. C
M A  C
K  S L
Wittliff | Cutter PLLC
1209 Nueces Street
Austin, Texas 78701
(512) 960-4730 (phone)
(512) 960-4869 (fax)
ryan@wittliffcutter.com
katherine@wittliffcutter.com
mac@wittliffcutter.com
kayna@wittliffcutter.com

Counsel for Plaintiffs
                                      /s/ Jonathan F. Mitchell
                                     J F. M
                                     Counsel for Defendants




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